               Case 3:18-md-02843-VC Document 40-2 Filed 06/21/18 Page 1 of 2


                      List of Law Firms in Support of Marlon Kimpson Application
                     In Re: Facebook, Inc., Consumer Privacy User Profile Litigation,
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